Case 1:23-cv-00778-RJJ-RSK ECF No.1, PagelD.1 Filed 07/21/23 PagbILBiD2 LN

July 21, 2023 2:57 PM

Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction CLERK OF COURT

U.S. DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

BY jlg/ Ss SCANNED By: 7 al

UNITED STATES DISTRICT COURT

for the
Western District of Michigan
1:23-cv-778
Robert J. Jonker
U.S. District Judge

Civil Division

Christian Banks
Case No.

(to be filled in by the Clerk's Office)

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-y-

Michigan State University

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

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COMPLAINT AND REQUEST FOR INJUNCTION

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name Christian Banks
Street Address 2505 Showtime Drive
City and County Lansing, Ingham
State and Zip Code Michigan, 48912
Telephone Number 321.558.4529
E-mail Address christiantylerbanks @ gmail.com

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

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Defendant No. 1

Name Michigan State University

Job or Title (if known)

Street Address 426 Auditorium Rd. Room 150, Hannah Administration Building
City and County East Lansing, Ingham

State and Zip Code Michigan, 48824

Telephone Number 517.355.1855

E-mail Address (ifknown)

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 3

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code

Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (if nown)

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I.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

[V] Federal question [| Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question
List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that

are at issue in this case.
U.S. Const. amend. XIV, § § 1, 2., Artl.S10.C1.6.1, Consumer Financial Protection Bureau (CFPB),

Federal Student Aid Handbook, Treatment of Overpayments (2022 - 202.3)
B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)

a. If the plaintiff is an individual

The plaintiff, (name) , is a citizen of the

State of (name)

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated

under the laws of the State of (name) 3

and has its principal! place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)
a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Or is a citizen of

(foreign nation)

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b, If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation) 3

and has its principal place of business in (name)

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

Ii. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
was involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights,
including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
needed.

A. Where did the events giving rise to your claim(s) occur?
Michigan State University, East Lansing, Michigan.

B. What date and approximate time did the events giving rise to your claim(s) occur?

January 9, 2023

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C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)
Please see attched.

IV. Irreparable Injury

Explain why monetary damages at a later time would not adequately compensate you for the injuries you
sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation

could not be measured.

Please see attached.
| am requesting an immediate Temporary Restraining Order

Vv. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages.
Please see attached.

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VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 07/21/2023

Signature of Plaintiff /s/ Christian Banks
Printed Name of Plaintiff Christian Banks

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code

Telephone Number
E-mail Address

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III. Statement of Claim
C. Underlying Facts

MSU's student accounts office has wrongly placed a financial hold on my student account due to
the grave errors made by the financial aid office.

I began my freshman year eligible for financial aid. Originally, I was incorrectly classified as an
out of state student. However, my mother, Donnya Banks, has been a resident of Michigan since
June of 2013. Due to a host of issues with the financial aid office, I did not receive a refund for
the fall semester. During the fall semester both my mother and I communicated in person and via
phone with the financial aid office. The assistant director, Tonya Jamison, was kept in the loop
regarding our reclassification efforts as well as my mother’s willingness to take out the Parent
Plus Loan so that I would not be saddled with a huge debt. So, she applied for and was approved
for a Parent-Plus loan. It was applied to my account in January of 2023.

On January 9, 2023, my classification was correctly changed to reflect my status and as an in-
state student. Ms. Laura Cole (assistant registrar) entered that information in the system and
notified the financial aid office of the change in status. Ms. Cole advised us that financial aid
would need two to three weeks to update my file and generate my financial aid package. Further,
my mother and I personally informed Tonya Jamison of the change. She told us that she was
aware of the reclassification already. She also confirmed that it would take two-three weeks to
update my financial aid package. Additionally, she said that whatever refund amount I was
entitled to would be reflected in the new financial aid package and the hold placed on my
account by financial aid would be lifted once that process was complete. Further, she told us that
once the hold was lifted that I would receive my refund within 10 days.

It is worth noting that I am in good standing with Federal Financial Aid. In fact, I received
financial aid for my summer classes at MSU last month. If I had done anything wrong, I would
not be in good standing with Federal Student Aid and he would be prohibited from receiving
federal financial aid.

Accordingly, MSU's financial aid office was and still is prohibited from blocking or

withholding my federal financial aid. So, they have resorted to maintaining a hold on my student
account. When my mother applied for the Parent-Plus Loan, she did so with the understanding
that payment would not begin until after I graduate and that she would have 20 years to pay it
off. Now, MSU is demanding immediate payment from me of the same amount that she

entered into an agreement with me and federal student aid to take financial responsibility for.
Now the burden of that debt has been shifted to me without my consent and without my mother’s
consent.

Below is the relevant timeline:

January 8, 2023- MSU's Financial aid office receives the Plus Loan disbursement.

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January 9, 2023- Ms. Cole enters the in-state status into MSU's system and notifies financial aid
and student accounts of the same.

January 9, 2023- Financial aid award letter generated. (Cost of Attendance $59,967.00)
January 10, 2023- Financial aid award letter generated. (Cost of Attendance $59,967.00)
January 18, 2023- I received a partial refund for Fall of 2022 ($11,317.61)

January 26, 2023- Financial aid award letter generated. (Cost of Attendance increased to
$60,033.00)

February 6, 2023- The financial aid hold on my student account was lifted.

February 16, 2023- I received the remaining refund on my account for the rest of Fall 2022 and
Spring 2023 ($29,460.92)

Note: My mother and I called both financial aid and student accounts to verify that the refunds
received were correct. Both financial aid and student accounts confirmed that the correct
amounts had been refunded.

February 16, 2023- Check was mailed to my mother ($3,624.50)
February 21, 2023- My mother received the check.

Note: My mother and I called both financial aid and student accounts before depositing the
check to verify that the correct amount was refunded. Both Financial aid and student accounts
representatives confirmed that the refund check was not issued in error. So, my mother cashed
the check the first week of March.

March 13, 2023- Financial aid award letter generated (Cost of attendance increased to
$60,099.00)

April 11, 2023- My mother and I discovered that a hold was placed on my student account.
April 11, 2023- My mother and I called MSU's financial aid to determine why the hold was
placed on his account. We spoke to Tonya Jamison and she informed us that financial aid
canceled my mother’s Parent Plus Loan and removed it from my account. In doing so, the debt

burden was shifted from my mother to me without notice and without our consent.

April 12, 2023- My mother and I received an email from Tonya Jamison informing us that

financial aid's error was due the adjustments made on my account to reflect in-state tuition status.

Accordingly, she claims that is why a balance was owed on the account and that there was
nothing she could do to.

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April 12, 2023- My mother emailed Tonya Jamison and David Norde to remind them of the
Federal Financial procedure when mistakes occur due to no fault of the student. Neither of us
received a response to that email.

April 17, 2023- Financial aid award letter generated (Cost of Attendance $60,099.00)

April 21, 2023- Financial aid award letter generated (Cost of attendance decreased to
$31,106.00)

May 18, 2023- Financial aid award letter generated (Cost of Attendance $31,106.00)

May 3, 2023- My mother emailed the same email again and informed both Tonya and David that
we never received a response to that email.

As outlined above, financial aid increased Christian’s cost of attendance in March. Then in late
April, after our call, financial aid changed Christian's cost of attendance by cutting it in-half
without any notice or explanation for their actions.

My mother and I never received notice of any of financial aid’s actions until over a month after
the Parent- Plus loan was cancelled and only because we inadvertently discovered the student
accounts hold on my account when I was attempting to register for my summer classes. If I had
not attempted to register for summer classes, we likely would not have discovered financial aid's
error until August when fall classes are scheduled to start.

I have repeatedly requested that either MSU’s financial aid reinstate the Parent-Plus loan my
mother was approved for and to apply it to my account to clear the balance. MSU has repeatedly
refused both my request and my mother’s request to reinstate the loan. Accordingly, we
demanded that MSU’s financial aid office follow the guidelines (Federal Student Aid Handbook)
they are required to abide by which would require MSU’s financial aid office to use institutional
funds to replace the overpayment. MSU refused to use institutional funds, as required, to replace
the amount of the overpayment they made. It is not an option for MSU to refuse to resolve this
issue by either of the two proposed resolutions. According to the Federal Student Aid Guidelines
a school is responsible for replacing overpayments made in error, not the student.

I have tried, in good faith, to resolve this issue internally. However, MSU has refused all of my
efforts to resolve the issue caused by their error. As outlined above I continue to be in good
standing with Federal Financial Aid because the error was caused by MSU and not by me.

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IV. Irreparable Injury
I am requesting an immediate Temporary Restraining Order

I am a student athlete. My major is Human Biology. I made the Dean's List for the fall and spring
semesters of my freshman year. (Fall 2022 3.8 gpa and Spring 2023 3.7 gpa). I will be applying
to medical school after graduation. However, I am unable to participate in medical programs
offering internships and volunteer-ships without having access to my official transcripts. Further,
my application will be less competitive than other applicant's because J missed the summer
opportunities to participate in these programs. There are still a few programs I can participate in
this summer if I am able to provide my official transcripts, but time is essence due to the
upcoming fall semester. Accordingly, no amount of money can sufficiently to compensate me for
the loss of these opportunities.

My college athletic eligibility is governed by the National Collegiate Athletic Association
(NCAA). Accordingly, I only have four seasons of eligibility remaining. If 1 am unable to
provide my official transcripts to the colleges that have made offers to me, (to enroll in their
universities and play football), then I will not be able to attend. Simply put, my offers will be
withdrawn if I am unable to provide my official transcripts. Accordingly, no amount of money
can sufficiently compensate me for the loss of a year or more of college athlete eligibility.
Moreover, if I am unable to provide my official transcripts, I will not be able to report to the
preseason football camp. If I am unable to attend the preseason camp it is likely that the offer
will be withdrawn. preseason camps are beginning next week. These is no amount of monetary
compensation that can sufficiently compensate me for the loss of the opportunity to join my
intended team and compete for a starting position at quarterback.

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V. Relief

I am requesting an immediate order requiring Michigan State University to remove the financial
hold on my student account and release my official transcripts.

On Thursday, July 20, 2023, I was again denied access to my official transcripts. Michigan State
University has refused to follow the Federal Guidelines for handling of mistakes made by the
financial aid office despite multiple attempts to resolve these issues internally over the course of
nearly four months.

I am not requesting monetary damages because such damages would never be sufficient to
compensate me for the irreparable harm caused by Michigan State University's continuing
refusal to release my official transcripts.

I am requesting that this Court issue an immediate injunction requiring Michigan State
University to remove the hold from my student account and to release my official transcripts.

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